Case 2:10-cv-10978-PJD-MJH ECF No.
        Case: 12-1128 Document:    227, PageID.4047
                                006111765931    Filed:Filed 07/26/13 Page:
                                                      07/26/2013      Page11 of 1

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  William K. Suter
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                     July 24, 2013


Clerk
                                                                       FILED
                                                                   Jul 26, 2013
United States Court of Appeals for the Sixth Circuit         DEBORAH S. HUNT, Clerk
524 Potter Stewart Courthouse
100 East Fifth Street
Cincinnati, OH 45202


      Re: Steven Woodward
          v. American University of Antigua College of Medicine
          No. 13-5450
          (Your No. 12-1128, 12-1584, 12-1585, 12-1738)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on July
20, 2013 and placed on the docket July 24, 2013 as No. 13-5450.




                                        Sincerely,

                                        William K. Suter, Clerk

                                        by

                                        Jacob C. Travers
                                        Case Analyst
